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 INTERNATIONAL DIAMOND IMPORTERS, INC. d/b/a I.D.I. DESIGN and MEIRA T
 DESIGNS

                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK


INTERNATIONAL DIAMOND IMPORTERS,
INC. d/b/a I.D.I. DESIGN and MEIRA T
DESIGNS                                                                      1:17-cv-728
                                                            CIVIL ACTION NO.____________
Plaintiff

v.                                                                    COMPLAINT

X JEWELRY INC. d/b/a SILVER SMITH
Defendant                                                     JURY TRIAL REQUESTED



        International Diamond Importers, Inc. d/b/a I.D.I. Design and Meira T Designs (“IDI” or

 “Plaintiff”), a New York corporation, by and through its undersigned counsel, alleges as follows:

                                   NATURE OF THE ACTION

        1.       This is a civil action for: copyright infringement of federally registered copyrights

 in violation of the Copyright Act of 1976, 17 U.S.C. §§ 101 et seq.; for trade dress infringement,

 false designation of origin and unfair competition in violation of Section 43(a) of the Trademark

 Act of 1946, as amended (15 U.S.C. §1125(a)); and for related state and common law claims.

 Plaintiff seeks injunctive relief, an accounting, compensatory damages and/or statutory damages,
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treble damages, attorneys’ fees and costs, and such other relief as the Court deems proper.

                                   JURISDICTION AND VENUE

         2.       This Court has Federal subject matter jurisdiction over the claims asserted in this

action pursuant to 28 U.S.C. §§ 1331 and 1338(a) as an action arising out of violations of the

Lanham Act, 15 U.S.C. §§ 1051 et seq. and the Copyright Act, 17 U.S.C. §§ 101 et seq.; and

pursuant to 28 U.S.C. § 1338(b) as an action arising out of claims for false designation of origin

and unfair competition.       This Court has supplemental jurisdiction pursuant to 28 U.S.C. §

1367(a).

         3.       Venue is proper, inter alia, pursuant to 28 U.S.C. § 1391 because, upon

information and belief, Defendant conducts business in this judicial district and a substantial part

of the events or omissions giving rise to the claims occurred in this judicial district, which have

caused damage to Plaintiff in this judicial district.

         4.       Personal jurisdiction exists over Defendant because, on information and belief,

Defendant conducts business in New York and/or otherwise avails itself of the privileges and

protections of the laws of the State of New York, such that this Court's assertion of jurisdiction

over Defendant does not offend traditional notions of fair play and due process.

                                           THE PARTIES

         5.       Plaintiff IDI is a corporation organized and existing under the laws of the State of

New York, having a principal place of business at 17 East 48th Street, Suite 401, New York, NY

10017.

         6.       Upon information and belief, Defendant X Jewelry Inc. d/b/a Silver Smith is a

corporation, formerly having a principal place of business at 1201 Broadway, Suite 709-710,

New York, NY 10001, which has recently moved and currently maintains a principal place of

business at 1109 70th Street, North Bergen, NJ 07047 (“X Jewelry” or “Defendant”).


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       7.       Defendant enriched itself through its fraudulent and illegal conduct as alleged

herein, while Plaintiff suffered enormous financial injury.

                                  GENERAL ALLEGATIONS

                    Plaintiff and Its Well-Known Meira T Jewelry Designs

       8.       Plaintiff is the designer, manufacturer, distributor and retailer of certain widely-

acclaimed and recognized modern jewelry designs, including its signature copyrighted fine

jewelry designs incorporating the Meira T Trade Dress (defined below) and sold under the

distinctive Meira T trademark (“Meira T Jewelry Designs”).

       9.       All Meira T Jewelry Designs are comprised of the highest quality materials, such

as gold, diamonds, and precious stones, and are manufactured by IDI’s expert craftsmen,

goldsmiths and artisans.

       10.      Plaintiff sells its products through its website, www.meiratdesigns.com, as well as

through fine independent jewelry retailers and select upscale department stores worldwide, such

as Saks Fifth Avenue, Bloomingdales, Harvey Nichols and Nordstrom, among many others.

       11.      While IDI has gained significant common law trademark and other rights in its

Meira T trademark and Meira T Jewelry Designs through its use, advertising and promotion, IDI

has also protected its valuable rights by filing for and obtaining federal trademark registrations

for MEIRA T (U.S. Reg. No. 4,555,105) and MEIRA T (stylized) (U.S. Reg. No. 4,555,107)

(collectively hereinafter referred to as the "Meira T Marks"). A true and correct copy of the

certificate of registrations for the Meira T Marks is attached hereto as Exhibit A.

       12.      In addition, IDI also owns both registered and unregistered copyrights in and to

the Meira T Jewelry Designs. For example, IDI is the owner of U.S. Copyright Registration

Nos. VA 1-862-202, VA 1-839-495, VA 1-900-720, VA 1-890-226, VA 1-874-009, VA 1-948-

995, VA 1-949-003, VA 1-890-224, VA 1-874-006, VA 1-949-004, VA 1-949-099, VA 1-949-


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093, VA 1-949-102 and VA 1-949-097 relating to its collections of Meira T Jewelry Designs

(individually, “Meira T Work” and collectively hereinafter referred to as “Meira T Works”). A

true and correct copy of the relevant certificate of registration for the Meira T Work at issue in

the instant action, along with the pertinent page of the deposit materials, is attached hereto as

Exhibit B.

         13.   Furthermore, the most widely renowned and recognized Meira T Jewelry Designs

are the unique and distinctive jewelry designs that feature a disproportionate number of pendants,

often of various sizes, on either side and a larger center jewel or piece. The foregoing elements

make up IDI’s particular trade dress, which has acquired secondary meaning and is defined as:

“an off-center asymmetric design comprising a large center jewel or piece with the size and/or

quantity of pendants on one side of the center jewel or piece being greater than the other side”

(hereinafter referred to as “Meira T Trade Dress”). Examples of the Meira T Trade Dress are

attached hereto as Exhibit C.

         14.    The Meira T Trade Dress is comprised of unique elements, which collectively

create a distinct commercial impression that is instantly recognizable as originating with IDI.

Accordingly, the Meira T Trade Dress is not functional.

         15.   Since the Meira T Jewelry Designs and Meira T Trade Dress were launched in or

about 2007, the Meira T Jewelry Designs and specifically, the Meira T Trade Dress have

achieved great success and notoriety, generating over twenty million dollars ($20,000,000) in

sales.

         16.   The success of the Meira T Jewelry Designs and the Meira T Trade Dress is due

in part to Plaintiff’s extensive marketing and promotional efforts.        These efforts include

advertising and promotion through Plaintiff’s website, newspapers, magazines, participation in




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trade shows and international gift shows (e.g., JA New York, JCK Las Vegas, Baselworld - The

Watch and Jewellery Show, Hong Kong International Jewellery Show, etc.), in-store

appearances, direct mail, electronic mail campaigns, among other efforts. Plaintiff has expended

significant time, money and effort in developing and amassing consumer recognition, awareness

and goodwill in, and associated with, the Meira T Trade Dress, Meira T Marks and Meira T

Works, which are incorporated in the Meira T Jewelry Designs.

       17.     In addition, Plaintiff owes a substantial amount of the success of the Meira T

Jewelry Designs and specifically, the Meira T Trade Dress to its consumers, which include many

A-list celebrities, models, and the like, and the word-of-mouth buzz that said consumers have

generated. Due to this word-of-mouth buzz and Plaintiff’s enormous success, the Meira T Trade

Dress has garnered widespread unsolicited international press coverage at the trade and

consumer levels.    For example, the Meira T Trade Dress has appeared in InStyle, Lucky

Magazine, US Weekly, Health, numerous trade magazines, among other publications.

       18.     Plaintiff’s efforts, the quality of Plaintiff’s products, its marketing and

promotional efforts, the word-of-mouth buzz generated by retailers, retail buyers, consumers,

jewelers, artisans and members of the public, and the unsolicited press coverage, have

prominently placed the Meira T Jewelry Designs and specifically, the Meira T Trade Dress in the

minds of the public. Retailers, retail buyers, consumers, jewelers, artisans and members of the

public have become familiar with the Meira T Jewelry Designs and specifically, the Meira T

Trade Dress, and have come to recognize the Meira T Trade Dress and associate it solely with

IDI’s distinctive line of Meira T Jewelry Designs and as an indication of the source of such

jewelry. The Meira T Trade Dress is thus the means by which IDI is known to the public and the

trade (i.e., as the exclusive source and origin of the Meira T Jewelry Designs that incorporate the




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Meira T Trade Dress).

         19.   Plaintiff and its Meira T Trade Dress and Meira T Marks have acquired a valuable

reputation and goodwill among the public as a result of such associations (i.e., have acquired

distinctiveness or secondary meaning).

         20.   IDI has gone to great lengths to protect its interests in and to its Meira T Trade

Dress, Meira T Works and Meira T Marks. Defendant is not, and has never been authorized by

IDI or any of its authorized agents to copy, manufacture, import, export, advertise, distribute,

offer for sale, or sell any Meira T Jewelry Designs or to use Plaintiff’s Meira T Trade Dress,

Meira T Works and/or Meira T Marks or any confusingly or substantially similar designs or

marks.

                        Defendant’s Wrongful and Infringing Conduct

         21.   In light of Plaintiff’s enormous success with its Meira T Jewelry Designs,

specifically, the Meira T Trade Dress and Meira T Works, Plaintiff and its Meira T Jewelry

Designs, have become targets for unscrupulous individuals and entities who wish to take a free

ride on the goodwill, reputation and fame Plaintiff has amassed in its Meira T Jewelry Designs,

the Meira T Trade Dress, Meira T Works and Meira T Marks.

         22.   Plaintiff investigates and enforces against such activity, and through such efforts,

learned of Defendant’s actions which vary and include, but are not limited to: manufacturing,

importing, exporting, advertising, marketing, promoting, distributing, displaying, offering for

sale, and/or selling jewelry designs that are confusingly and/or substantially similar to, identical

to, and/or constitute infringement of at least one of Plaintiff’s Meira T Works and/or the Meira T

Trade Dress (collectively hereinafter referred to as, “Infringing Product(s)”) to U.S. retailers,

wholesalers and/or consumers, including those located in the State of New York, through, at a

minimum, Defendant’s exhibition at trade shows—specifically, at the very least, at JCK Las


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Vegas, June 3-6, 2016—as well as, upon information and belief, Defendant’s website,

www.xjewelryus.com and via Defendant’s sales representatives. A side-by side comparison of

several Meira T Jewelry Designs and the Infringing Products offered by Defendant is attached

hereto as Exhibit D.

       23.     After Plaintiff became aware of Defendant’s infringing actions, Plaintiff’s counsel

sent a cease and desist letter to Defendant on June 21, 2016 (“C&D”) via both Certified Mail and

e-mail. A true and correct copy of the C&D, along with the delivery confirmation, which

demonstrates that the C&D was delivered by the United States Postal Service on June 24, 2016,

is attached hereto as Exhibit E.

       24.     Due to Defendant’s failure to respond to the C&D within the requested time

frame, counsel for Plaintiff sent follow-up reminders to Defendant via e-mail on July 5, 2016,

July 18, 2016 and August 8, 2016.

       25.     Since Defendant failed to issue any response whatsoever, despite counsel for

Plaintiff’s numerous reminders, counsel for Plaintiff called Defendant on August 11, 2016. At

that time, counsel for Plaintiff spoke with, upon information and belief, Haigang Xia a/k/a Sam

Xia, President of Defendant (“Xia”); however, counsel for Plaintiff and Xia were unable to

engage in any meaningful dialogue regarding the instant dispute or the potential settlement

thereof. Thereafter, in a final attempt to bring about an amicable resolution, counsel for Plaintiff

sent Defendant a follow-up e-mail on the same date (i.e., on August 11, 2016) in which counsel

for Plaintiff explained that this matter required Defendant’s immediate attention, and re-attached

the C&D for Defendant’s reference.

       26.     To date, Defendant has failed to issue any meaningful and/or written response

whatsoever and thus, Plaintiff has been unable to settle this matter with Defendant.




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       27.     By these dealings in Infringing Products (including, but not limited to:

manufacturing, importing, exporting, advertising, marketing, promoting, distributing, displaying,

offering for sale, and/or selling Infringing Products), Defendant has violated Plaintiff’s exclusive

rights in at least one Meira T Work and its Meira T Trade Dress, and has used images and/or

designs that are confusingly and/or substantially similar to, identical to, and/or constitute

infringement of at least one of Plaintiff’s Meira T Works and its Meira T Trade Dress in order to

confuse consumers and aid in the promotion and sales of its Infringing Products. Defendant’s

use and other infringing actions began long after Plaintiff’s adoption and use of the relevant

Meira T Work and the Meira T Trade Dress.

       28.     Prior to and contemporaneous with its unlawful actions alleged herein, Defendant

had knowledge of Plaintiff’s ownership of its Meira T Works and Meira T Trade Dress, and of

the extraordinary fame and strength of its Meira T Works and Meira T Trade Dress, and the

incalculable goodwill associated therewith, and in bad faith adopted, at a minimum, one of

Plaintiff’s Meira T Works and its Meira T Trade Dress.

       29.     Defendant engaged, and likely has continued, and will continue, to engage in such

illegal infringing actions, as alleged herein, knowingly and intentionally, or with reckless

disregard or willful blindness to Plaintiff’s rights, or in bad faith, for the purpose of trading on

the goodwill and reputation of Plaintiff’s Meira T Work(s), Meira T Trade Dress and the Meira T

Jewelry Designs.

       30.     Defendant’s illegal and infringing actions, as alleged herein, will cause confusion,

mistake, and deceive consumers, the public, and the trade with respect to the source or origin of

Defendant’s Infringing Products, and cause consumers to erroneously believe that such

Infringing Products are licensed by or otherwise associated with Plaintiff, thereby damaging




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Plaintiff.

        31.      Through these actions, Defendant has, among other things, willfully and in bad

faith committed the following, all of which have caused and will continue to cause irreparable

harm to Plaintiff: infringed at least one of Plaintiff’s Meira T Works; infringed Plaintiff’s Meira

T Trade Dress; engaged in unfair competition; and unfairly and unjustly profited from such

activities at Plaintiff’s expense.

        32.      Unless enjoined, Defendant will continue to cause irreparable harm to Plaintiff.

                                        CAUSES OF ACTION

                                   FIRST CAUSE OF ACTION
                                 (Federal Copyright Infringement)
                                        [17 U.S.C. § 501(a)]

        33.      Plaintiff repeats and re-alleges every allegation set forth in the preceding

paragraphs.

        34.      IDI is the exclusive owner of its Meira T Works.

        35.      Defendant had actual notice of Plaintiff’s exclusive rights in and to the Meira T

Work at issue in the instant dispute.

        36.      Defendant did not attempt and failed to obtain Plaintiff’s consent or authorization

to use, manufacture, reproduce, copy, display, prepare derivative works of, distribute, sell,

transfer, rent, perform, and/or market Plaintiff’s Meira T Jewelry Designs and/or any of its Meira

T Works.

        37.      Without permission, Defendant knowingly and intentionally reproduced, copied

and displayed Plaintiff’s Meira T Work by manufacturing, importing, exporting, advertising,

marketing, promoting, distributing, displaying, retailing, offering for sale and/or selling

Infringing Products that are comprised of designs that are, at a minimum, substantially similar to

one of Plaintiff’s Meira T Works.


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       38.     Defendant’s unlawful and willful actions, as alleged herein, constitute

infringement of Plaintiff’s Meira T Work, including Plaintiff’s exclusive rights to reproduce,

distribute and/or sell said Meira T Work in violation of 17 U.S.C. § 501(a).

       39.     Defendant’s knowing and intentional copyright infringement, as alleged herein,

has caused substantial and irreparable harm to Plaintiff and unless enjoined, Defendant will

continue to cause, substantial and irreparable harm to Plaintiff for which it has no adequate

remedy at law. Plaintiff is therefore entitled to injunctive relief, Plaintiff’s actual damages and

Defendant’s profits in an amount to be proven at trial and enhanced discretionary damages or, in

the alternative, statutory damages for willful copyright infringement of up to $150,000 per work

infringed, and its reasonable attorneys’ fees and costs.

                               SECOND CAUSE OF ACTION
                                 (Trade Dress Infringement)
                   [15 U.S.C. § 1125(a)/Lanham Act § 43(a) and § 1117(a)]

       40.     Plaintiff repleads and incorporates by reference each and every allegation set forth

in the preceding paragraphs.

       41.     Plaintiff, as the owner of all common law right, title, and interest in and to the

Meira T Trade Dress, has standing to maintain an action for trade dress infringement under the

Federal Trademark Statute, Lanham Act § 43(a) (15 U.S.C. § 1125).

       42.     As a result of Plaintiff’s efforts, the distinctive nature and quality of the Meira T

Jewelry Designs, its extensive international marketing and promotional efforts, the word-of-

mouth buzz generated by its consumers, and the unsolicited press coverage featuring the Meira T

Trade Dress, the Meira T Trade Dress, defined as “a distinctive off-center asymmetric design

comprising a large center jewel or piece with the size and/or quantity of pendants on one side of

the center jewel or piece being greater than the other side”, is recognized as emanating from a




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single source, IDI, and thus, has acquired secondary meaning.

          43.   The Meira T Trade Dress is composed of a combination of distinctive elements,

which collectively create a unique commercial impression that is instantly associated exclusively

with IDI. The specific configuration of the Meira T Trade Dress is not necessary for consumers

to use and/or wear the Meira T Jewelry Designs or any other jewelry designs generally.

Moreover, there are a plethora of other design elements and/or jewelry designs that are readily

available to competitors in the fine jewelry sector. Accordingly, the Meira T Trade Dress is not

functional.

          44.   Defendant knowingly and willfully used in commerce product designs that are

identical or confusingly similar to the Meira T Trade Dress with the intent to cause confusion, to

cause mistake and to deceive the purchasing public to believe, in error, that Defendant’s

substandard Infringing Products are genuine Meira T Jewelry Designs or related products, and/or

that Defendant’s Infringing Products are authorized, sponsored, approved, endorsed or licensed

by Plaintiff, and/or that Defendant is affiliated, connected or associated with Plaintiff, thereby

creating a likelihood of confusion by consumers as to the source of such Infringing Products, and

allowing Defendant to capitalize on the goodwill associated with, and the consumer recognition

of, the Meira T Trade Dress, to Defendant’s substantial profit in blatant disregard of Plaintiff’s

rights.

          45.   Defendant’s actions have been deliberate and committed with knowledge of

Plaintiff’s exclusive rights and goodwill in the Meira T Trade Dress, as well as with bad faith

and the intent to cause confusion, mistake and deception.

          46.   As a direct and proximate consequence of Defendant’s unlawful and infringing

actions, as alleged herein, Plaintiff has suffered substantial and irreparable injury, loss and




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damage to its business and to its rights in and to the Meira T Trade Dress and the goodwill

associated therewith, for which it has no adequate remedy at law, and unless immediately

enjoined, Defendant will continue to cause substantial and irreparable injury, loss and damage to

Plaintiff and its rights in and to the Meira T Trade Dress and the goodwill associated therewith.

       47.     Based on Defendant’s wrongful and infringing actions, Plaintiff is entitled to

injunctive relief, as well as monetary damages and other remedies as provided by the Lanham

Act, including damages that Plaintiff has sustained and will sustain as a result of Defendant’s

unlawful and infringing actions as alleged herein, and all gains, profits and advantages obtained

by Defendant as a result thereof, enhanced discretionary damages and reasonable attorneys’ fees

and costs.

                                THIRD CAUSE OF ACTION
              (False Designation of Origin, Passing Off & Unfair Competition)
                   [15 U.S.C. § 1125(a)/Lanham Act § 43(a) and § 1117(a)]

       48.     Plaintiff repleads and incorporates by reference each and every allegation set forth

in the preceding paragraphs.

       49.     Plaintiff, as the owner of all common law right, title, and interest in and to the

Meira T Trade Dress, has standing to maintain an action for false designation of origin and unfair

competition under the Federal Trademark Statute, Lanham Act § 43(a) (15 U.S.C. § 1125).

       50.     Plaintiff’s Meira T Trade Dress is inherently distinctive and/or has acquired

distinctiveness.

       51.     Defendant knowingly and willfully used in commerce product designs that are

identical or confusingly or substantially similar to and constitute a reproduction of Plaintiff’s

Meira T Trade Dress and affixed, applied and used false designations of origin and false and

misleading descriptions and representations on or in connection with the manufacturing,




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importing, exporting, advertising, marketing, promoting, distributing, displaying, retailing,

offering for sale, and/or sale of Infringing Products with the intent to cause confusion, to cause

mistake and to deceive the purchasing public to believe, in error, that Defendant’s substandard

Infringing Products are genuine Meira T Jewelry Designs or related products, and/or that

Defendant’s Infringing Products are authorized, sponsored, approved endorsed or licensed by

Plaintiff, and/or that Defendant is affiliated, connected or associated with Plaintiff, thereby

creating a likelihood of confusion by consumers as to the source of such Infringing Products, and

allowing Defendant to capitalize on the goodwill associated with, and the consumer recognition

of, Plaintiff’s Meira T Trade Dress, to Defendant’s substantial profit in blatant disregard of

Plaintiff’s rights.

        52.     By manufacturing, importing, exporting and/or assisting and encouraging third

parties to manufacture, import, export and/or by itself advertising, marketing, promoting,

distributing, displaying, retailing, offering for sale, selling and/or otherwise dealing in the

Infringing Products, that are identical to, confusingly similar to or colorable imitations of

Plaintiff’s Meira T Jewelry Designs using designs that are identical and/or confusingly or

substantially similar to, or which constitute colorable imitations of Plaintiff’s Meira T Trade

Dress and one of its Meira T Works, Defendant has traded off the extensive goodwill of Plaintiff

and its Meira T Jewelry Designs to induce and did induce, and intends and will continue to

induce customers to purchase its Infringing Products, thereby directly and unfairly competing

with Plaintiff. Such actions have permitted, and will continue to permit Defendant to make

substantial sales and profits based on the goodwill and reputation of Plaintiff that it has amassed

through its marketing, advertising, sales and consumer recognition.

        53.     Defendant knew or, by the exercise of reasonable care, should have known, that




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its adoption and commencement of and continuing use in commerce of designs that are identical,

confusingly and/or substantially similar to, and constitute reproductions of, Plaintiff’s Meira T

Trade Dress and its Meira T Work would cause confusion, mistake, or deception among

purchasers, users, the public and the trade.

       54.     On information and belief, Defendant’s aforementioned wrongful actions have

been knowing, deliberate, willful, intended to cause confusion, to cause mistake and to deceive

the trade and the purchasing public and with the intent to trade on the goodwill and reputation of

Plaintiff, its Meira T Jewelry Designs and its Meira T Trade Dress.

       55.     As a direct and proximate result of Defendant’s aforementioned actions,

Defendant has caused irreparable injury to Plaintiff by depriving Plaintiff of sales of its Meira T

Jewelry Designs and by depriving Plaintiff of the value of its Meira T Trade Dress as a

commercial asset, for which it has no adequate remedy at law, and unless immediately

restrained, Defendant will continue to cause substantial and irreparable injury to Plaintiff and the

goodwill and reputation associated with the value of Plaintiff’s Meira T Trade Dress in an

amount as yet unknown, but to be determined at trial.

       56.     Based on Defendant’s wrongful actions, Plaintiff is entitled to injunctive relief as

well as monetary damages and other remedies as provided by the Lanham Act, including

damages that Plaintiff has sustained and will sustain as a result of Defendant’s unlawful and

infringing actions as alleged herein, and all gains, profits and advantages obtained by Defendant

as a result thereof, enhanced discretionary damages and reasonable attorneys’ fees and costs.

                               FOURTH CAUSE OF ACTION
                          (Violation of Deceptive Acts and Practices)
                                  [N.Y. Gen. Bus. Law § 349]

       57.     Plaintiff repleads and incorporates by reference each and every allegation set forth

in the preceding paragraphs.


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       58.     Through Defendant’s unlawful, unauthorized, and unlicensed use of Plaintiff’s

Meira T Trade Dress and Meira T Work in order to manufacture, import, export, advertise,

market, promote, distribute, display, retail, offer for sale, sell and/or otherwise deal in Infringing

Products that are identical and/or confusingly similar to Plaintiff’s Meira T Jewelry Designs,

Defendant has engaged in consumer-oriented conduct that has adversely affected the public

interest and has resulted in injury to consumers in New York.

       59.     Defendant’s aforementioned conduct was and is a willful and deliberate attempt

to mislead consumers and constitutes the use of deceptive acts or practices in the conduct of

business, trade or commerce. Such conduct has deceived and materially misleads, or has a

tendency to deceive and materially mislead the consuming public and has injured, and will

continue to injure, Plaintiff’s business, reputation and goodwill in violation of N.Y. Gen, Bus.

Law § 349.

       60.     As a result of Defendant’s actions alleged herein, Plaintiff has suffered, and will

continue to suffer irreparable harm for which it has no adequate remedy at law.

       61.     Pursuant to N.Y. Gen. Bus. Law. § 349(h), Plaintiff is entitled to enjoin

Defendant’s unlawful conduct as well as obtain damages in an amount to be determined at trial,

costs, disbursements and attorneys’ fees.

                                  FIFTH CAUSE OF ACTION
                                      (False Advertising)
                                   [N.Y. Gen. Bus. Law § 350]

       62.     Plaintiff repleads and incorporates by reference each and every allegation set forth

in the preceding paragraphs.

       63.     Without the authorization of Plaintiff, Defendant has used Plaintiff’s Meira T

Trade Dress and Meira T Work and/or artwork and/or designs that are identical and/or

confusingly or substantially similar to Plaintiff’s Meira T Trade Dress and at least one of


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Plaintiff’s Meira T Works to manufacture, import, export, advertise, market, promote, distribute,

display, retail, offer for sale, sell and/or otherwise deal in Infringing Products, which are

identical and/or confusingly similar to Plaintiff’s Meira T Jewelry Designs, thereby causing

confusion, mistake and deceiving consumers and the public as to the source, origin, sponsorship,

or quality of Defendant’s Infringing Products.

       64.     Defendant’s aforementioned willful and intentional actions constitute false

advertising in the conduct of any business, trade or commerce and have injured, and will

continue to injure Plaintiff’s business, reputation and goodwill in violation of N.Y. Gen, Bus.

Law § 350.

       65.     As a result of Defendant’s actions alleged herein, Plaintiff has suffered, and will

continue to suffer irreparable harm for which it has no adequate remedy at law.

       66.     Pursuant to N.Y. Gen. Bus. Law. § 350(e), Plaintiff is entitled to enjoin

Defendant’s unlawful conduct as well as obtain damages in an amount to be determined at trial,

costs, disbursements and attorneys’ fees.

                                 SIXTH CAUSE OF ACTION
                                    (Unfair Competition)
                                  [New York Common Law]

       67.     Plaintiff repleads and incorporates by reference each and every allegation set forth

in the preceding paragraphs.

       68.     By manufacturing, importing, exporting and/or assisting and encouraging third

parties to manufacture, import, export and/or by itself advertising, marketing, promoting,

distributing, displaying, retailing, offering for sale, selling and/or otherwise dealing in the

Infringing Products, Defendant has traded off the extensive goodwill of Plaintiff and its Meira T

Jewelry Designs to induce and did induce, and intends and will continue to induce customers to

purchase its Infringing Products, thereby directly competing with Plaintiff. Such actions have


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permitted, and will continue to permit Defendant to make substantial sales and profits based on

the goodwill and reputation of Plaintiff that it has amassed through its international marketing,

advertising, sales and consumer recognition.

       69.     Defendant’s advertising, marketing, promoting, distributing, displaying, retailing,

offering for sale, selling and/or otherwise dealing in the Infringing Products was and is in

violation and derogation of Plaintiff’s rights and is likely to cause confusion, cause mistake and

to deceive consumers and the public as to the source, origin, sponsorship, or quality of

Defendant’s Infringing Products.

       70.     Defendant knew, or by the exercise of reasonable care should have known, that its

advertising, marketing, promoting, distributing, displaying, retailing, offering for sale, selling

and/or otherwise dealing in the Infringing Products and its continuing advertising, marketing,

promoting, distributing, displaying, retailing, offering for sale, selling and/or otherwise dealing

in the Infringing Products would cause confusion, cause mistake or deceive purchasers, users and

the public.

       71.     Upon information and belief, Defendant’s aforementioned wrongful actions have

been knowing, deliberate, willful, intended to cause confusion, to cause mistake and to deceive,

in blatant disregard of Plaintiff’s rights, and for the wrongful purpose of injuring Plaintiff and its

competitive position while benefiting Defendant.

       72.     As a direct and proximate result of Defendant’s aforementioned wrongful actions,

Plaintiff has been, and will continue to be, deprived of substantial sales of its Meira T Jewelry

Designs in an amount as yet unknown but to be determined at trial, and has been, and will

continue to be deprived of the value of Meira T Trade Dress as a commercial asset, in an amount

as yet unknown but to be determined at trial.




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        73.     Plaintiff has no adequate remedy at law for Defendant’s continuing violation of its

rights set forth above. Plaintiff seeks injunctive relief, an order granting Plaintiff’s damages and

Defendant’s profits stemming from its infringing activity, and exemplary or punitive damages

for Defendant’s intentional misconduct.

                                 SEVENTH CAUSE OF ACTION
                                     (Unjust Enrichment)
                                   [New York Common Law]

        74.     Plaintiff repleads and incorporates by reference each and every allegation set forth

in the preceding paragraphs.

        75.     By virtue of the egregious and illegal actions of Defendant as alleged herein,

Defendant has been unjustly enriched in an amount to proven at trial.

        76.     Defendant’s retention of monies gained through its deceptive business practices,

infringement, acts of deceit and otherwise would serve to unjustly enrich Defendant and would

be contrary to the interests of justice.

                                      PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment against Defendant as follows:

        A.      For an award of Plaintiff’s actual damages and Defendant’s profits, pursuant to 17

        U.S.C. § 504(b) in an amount to be proven at trial for willful copyright infringement of

        Plaintiff’s Meira T Work under 17 U.S.C. § 501(a);

        B.      In the alternative to Plaintiff’s actual damages and Defendant’s profits for

        copyright infringement of Plaintiff’s Meira T Work pursuant to 17 U.S.C. § 504(b), for

        statutory damages of up to $150,000 per infringement pursuant to 17 USC § 504(c) for

        willful copyright infringement, which Plaintiff may elect prior to the rendering of final

        judgment;

        C.      For an award of Defendant’s profits and Plaintiff’s damages pursuant to 15 U.S.C.


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§ 1117(a) in an amount to be proven at trial and such other compensatory damages as the

Court determines to be fair and appropriate pursuant to 15 U.S.C. § 1117(a) for trade

dress infringement under 15 U.S.C. §1125(a);

D.       For an award of Defendant’s profits and Plaintiff’s damages pursuant to 15 U.S.C.

§ 1117(a) in an amount to be proven at trial and such other compensatory damages as the

Court determines to be fair and appropriate pursuant to 15 U.S.C. § 1117(a) for false

designation of origin and unfair competition under 15 U.S.C. §1125(a);

E.       For an award of damages in an amount to be proven at trial for deceptive acts and

practices unlawful pursuant to N.Y. Gen. Bus. Law. § 349(h);

F.       For an award of damages to be proven at trial for false advertising pursuant to

N.Y. Gen. Bus. Law. § 350(e);

G.       For an award of damages to be proven at trial for common law unfair competition;

H.       For an award of damages in an amount to be proven at trial for unjust enrichment;

I.       For a preliminary and permanent injunction by this Court enjoining and

prohibiting Defendant, or its agents, and any employees, agents, servants, officers,

representatives, directors, attorneys, successors, affiliates, assigns, and entities owned or

controlled by Defendant, and all those in active concert or participation with Defendant,

and each of them who receives notice directly or otherwise of such injunction from:

             i. manufacturing, importing, exporting, advertising, marketing, promoting,

                distributing, displaying, retailing, offering for sale, selling and/or

                otherwise dealing in the Infringing Products;

            ii. directly or indirectly infringing in any manner any of Plaintiff’s

                copyrights, trademarks or other exclusive rights (whether now in existence




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           or hereafter created) including, without limitation, Plaintiff’s Meira T

           Marks, Meira T Trade Dress or Meira T Works;

      iii. using any reproduction, counterfeit, copy or colorable imitation of

           Plaintiff’s copyrights, trademarks or other exclusive rights (whether now

           in existence or hereafter created) including, without limitation, Plaintiff’s

           Meira T Marks, Meira T Trade Dress and Meira T Works to identify any

           goods or services not authorized by IDI;

       iv. using any of Plaintiff’s copyrights, trademarks or other exclusive rights

           (whether now in existence or hereafter created) including, without

           limitation, Plaintiff’s Meira T Marks, Meira T Trade Dress and Meira T

           Works, or any other marks, designs or artwork that are confusingly or

           substantially similar to Plaintiff’s Meira T Marks, Meira T Trade Dress

           and/or Meira T Works on or in connection with Defendant’s

           manufacturing, importing, exporting, advertising, marketing, promoting,

           distributing, displaying, retailing, offering for sale, selling and/or

           otherwise dealing in the Infringing Products.

       v. using any false designation of origin or false description, or engaging in

           any action that is likely to cause confusion, cause mistake and/or to

           deceive members of the trade and/or the public as to the affiliation,

           connection or association of any product manufactured, imported,

           exported, advertised, marketed, promoted, distributed, displayed, retailed,

           offered for sale, or sold by Defendant with Plaintiff, and/or as to the

           origin, sponsorship or approval of any product manufactured, imported,




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               exported, advertised, marketed, promoted, distributed, displayed, retailed,

               offered for sale, or sold by Defendant and/or Defendant’s commercial

               activities by Plaintiff.

          vi. engaging in the unlawful, unfair, or fraudulent business acts or practices,

               including, without limitation, the actions described herein, including the

               advertising and/or dealing in any Infringing Products;

          vii. engaging in any other actions that constitute unfair competition with

               Plaintiff;

         viii. engaging in any other act in derogation of Plaintiff’s rights;

          ix. secreting, destroying, altering, removing, or otherwise dealing with the

               unauthorized products or any books or records that contain any

               information relating to manufacturing, importing, exporting, advertising,

               marketing, promoting, distributing, displaying, retailing, offering for sale,

               selling and/or otherwise dealing in the Infringing Products;

           x. effecting assignments or transfers, forming new entities or associations, or

               utilizing any other device for the purpose of circumventing or otherwise

               avoiding the prohibitions set forth in any Final Judgment or Order in this

               action; and

          xi. instructing, assisting, aiding or abetting any other person or entity in

               engaging in or performing any of the activities referred to in

               subparagraphs (i) through (x) above; and

J.     For an order of the Court requiring that Defendant recall from any distributors and

retailers and deliver up to Plaintiff for destruction any and all Infringing Products and any




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and all packaging, labels, tags, advertising and promotional materials and any other

materials in the possession, custody or control of such distributors and retailers that

infringe any of Plaintiff’s copyrights, trademarks or other exclusive rights including,

without limitation Plaintiff’s Meira T Marks, Meira T Trade Dress or Meira T Works, or

that bear any marks or artwork that are confusingly or substantially similar to Plaintiff’s

Meira T Marks, Meira T Trade Dress and/or Meira T Works;

K.      For an order of the court requiring that Defendant deliver up for destruction to

Plaintiff any and all Infringing Products and any and all packaging, labels, tags,

advertising and promotional materials and any other materials in the possession, custody

or control of Defendant that infringe any of Plaintiff’s copyrights, trademarks or other

exclusive rights including, without limitation Plaintiff’s Meira T Marks, Meira T Trade

Dress or Meira T Works, or that bear any marks, designs or artwork that are confusingly

or substantially similar to Plaintiff’s Meira T Marks, Meira T Trade Dress and/or Meira T

Works pursuant to 15 U.S.C. § 1118;

L.      For an order from the Court requiring that Defendant provide complete

accountings for any and all monies, profits, gains and advantages derived by Defendant

from its manufacturing, importing, exporting, advertising, marketing, promoting,

distributing, displaying, retailing, offering for sale, sale and/or otherwise dealing in the

Infringing Products as described herein, including prejudgment interest;

M.      For an order from the Court that an asset freeze or constructive trust be imposed

over any and all monies, profits, gains and advantages in Defendant’s possession which

rightfully belong to Plaintiff;

N.      For an award of exemplary or punitive damages in an amount to be determined by




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